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12                         UNITED STATES DISTRICT COURT
13
14                       CENTRAL DISTRICT OF CALIFORNIA
15                                   (Eastern Division)
16
       MOSES HEREDIA,                          Case No.: 5:20-cv-02618-JWH-KKx
17
18                 Plaintiff,                  THIRD AMENDED COMPLAINT
       vs.
19
                                               DEMAND FOR JURY TRIAL
20
       MTK GLOBAL SPORTS
21     MANAGEMENT, LLC; MTK GLOBAL
22     USA, LLC; GOLDEN BOY
       PROMOTIONS, INC.; PAUL D.
23     GIBSON; and DANIEL KINAHAN,
24
                   Defendants.
25
26
27
28
                                             -1-
                                                           THIRD AMENDED COMPLAINT
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 1           Plaintiff Mr. Moses Heredia (“Mr. Heredia” or “Plaintiff”) brings this
 2     Complaint against the Defendants MTK Global Sports Management, LLC
 3     (“MTK”), MTK Global USA, LLC (“MTK USA”), Golden Boy Promotions, Inc.
 4     (“GBP” or “Golden Boy”), Mr. Paul D. Gibson (“Mr. Gibson”), and Mr. Daniel
 5     Kinahan (“Mr. Kinahan”) (collectively, “Defendants”) and alleges, based on
 6     knowledge as to himself and his own acts and on information and belief as to all
 7     other matters, as follows:
 8                                  NATURE OF THE CASE
 9           1.     This case, at its core, arises from an effort undertaken by Mr. Kinahan
10     to present himself and his associates as legitimate business persons through the
11     establishment of “legitimate businesses” such as his various and numbered boxing
12     concerns to include MTK USA and MTK Global, to launder criminal proceeds,
13     and use those proceeds to “steal” fighters from the duly licensed promotors and
14     managers using their extraordinary financial wherewithal and “reputations” to
15     bully their way into the world of professional boxing. The infusion of cash into the
16     world of professional boxing took the industry by storm and Mr. Kinahan and his
17     associated businesses soon became a global the force to be reckoned with. One of
18     his businesses, MTK, after pillaging the European market then set its sights on the
19     United States. Mr. Kinahan and his surrogates targeted for acquisition Mr. Joseph
20     Diaz (“Mr. Diaz”), a recently-crowned world champion who was a fighter in a
21     lucrative weight class and who had strong marketability and profitability potential.
22     MTK found an ally for this acquisition in Golden Boy. Golden Boy and its agents,
23     in particular Robert Diaz and his counsel, had become increasingly hostile to Mr.
24     Heredia given his fierce negotiation positions taken on behalf of Mr. Diaz and their
25     other fighters to ensure fight purses were commensurate with their value and not in
26     line with Golden Boy’s approach to allocate the least amount of the purse possible
27     to the fighter so that Golden Boy’s profitability was maximized. Golden Boy had
28     historically and unsuccessfully attempted to induce fighters to leave Mr. Heredia’s
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                                                                 THIRD AMENDED COMPLAINT
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 1     team, which was raised with Golden Boy leadership prior to Mr. Kinahan’s entry
 2     into the U.S. market.
 3           2.    For eight years, Mr. Heredia managed Mr. Diaz’ boxing career,
 4     culminating in Mr. Diaz winning a world championship. Despite Mr. Heredia
 5     having had an exclusive boxer-manager contract with Mr. Diaz, the Defendants,
 6     most of whom were not licensed as a managers as required under California law,
 7     lured Mr. Diaz away from Mr. Heredia’s management, interfering with the boxer-
 8     manager contract between Mr. Heredia and Mr. Diaz, ultimately to Mr. Heredia’s
 9     financial and professional detriment.
10           3.    Defendants MTK, Mr. Kinahan, and Mr. Gibson all have connections
11     with organized crime; Mr. Kinahan, in particular, is alleged by the United States
12     Government to be operating a “Transnational Criminal Organization” and was
13     recently designated as a Specially Designated National. Their actions in this case
14     are violations of the Racketeer Influenced and Corrupt Organizations (RICO) Act
15     and entitle Mr. Heredia to treble damages.
16                                         PARTIES
17           4.    Plaintiff Moses Heredia is an individual residing in San Bernardino
18     County, California.
19           5.    Defendant MTK Global Sports Management, LLC, is a Dubai, UAE
20     business entity with license number 785135 and having its registered office at PO
21     Box 454833, Al Barsha Post Office, Dubai, United Arab Emirates. MTK Global
22     Sports Management, LTD, is a wholly owned subsidiary of MTK Global Sports
23     Management, LLC operating out of the United Kingdom with its principal place of
24     business at 20-22 Wenlock Road, London, England, N1 7GU. On or about April
25     20, 2022, and because of its connections with Mr. Kinahan, MTK announced that it
26     was completely shutting down at the end of April, 2022.
27           6.    Defendant MTK Global USA, LLC is a Delaware limited liability
28     company, with a registered agent, Paracorp Incorporated, at 2140 S Dupont HWY,
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 1     Camden, DE 19934. Upon information and belief, MTK controls MTK USA.
 2           7.     Defendant Golden Boy Promotions, Inc., is a California corporation
 3     with its principal place of business at 626 Wilshire Blvd, Suite 350, Los Angeles,
 4     CA 90017.
 5           8.     Defendant Paul D. Gibson is MTK’s Chief Strategy Officer and an
 6     individual residing in Alicante, Valencian Community, Spain.
 7           9.     Defendant Daniel Kinahan is a co-founder and owner of MTK and an
 8     individual residing in Dubai, UAE.
 9           10.     On April 11, 2022, the U.S. Treasury Department’s Office of Foreign
10     Assets Control (OFAC) designated the Kinahan Organized Crime Group (KOGC),
11     as a “Transnational Criminal Organization,” and designated Mr. Kinahan, along
12     with several other KOCG members, as Specially Designated Nationals. The U.S.
13     accused the KOGC of smuggling deadly narcotics, including cocaine, to Europe,
14     and declared it “a threat to the entire licit economy through its role in international
15     money laundering.”
16           11.    In a statement, the U.S. said Mr. Kinahan runs the day-to-day
17     operations of the organization. As part of the sanctions, OFAC prohibited any U.S.
18     persons or businesses from working with Mr. Kinahan or any member of the
19     KOGC.
20           12.    The United States Government offered a $5 million reward each for
21     information that will lead to the “financial destruction” of the KOGC or the arrest
22     and conviction of its three leaders, including Mr. Kinahan.
23           13.    Each and every Defendant was the agent, servant, employee, joint
24     venture, partner, subsidiary, and/or co-conspirator of each other Defendant, and in
25     performing or failing to perform the acts alleged herein each Defendant was acting
26     individually as well as through and in the foregoing alleged capacity within the
27     course and scope of such agency, employment, joint venture, partnership,
28     subsidiary, and/or conspiracy.
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 1                                JURISDICTION AND VENUE
 2            14.    This Court has subject matter jurisdiction over this action pursuant to
 3     18 U.S.C. § 1964(c) and 28 U.S.C. § 1331.
 4            15.    Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965
 5     and 28 U.S.C. § 1391 because a substantial part of the events or omissions giving
 6     rise to the claim occurred in this district. Defendants MTK, Mr. Gibson, and Mr.
 7     Kinahan do substantial business in this judicial district, have substantial minimum
 8     contacts with this judicial district, and/or intentionally availed itself of the benefits
 9     and protections of California law through the promotion, sale, marketing, and
10     provision of services in California. Venue is also proper in this judicial district
11     pursuant to 28 U.S.C. § 1391 because Defendant GBP is subject to personal
12     jurisdiction in this judicial district and resides in this district.
13                            FEDERAL AND CALIFORNIA LAW
14            16.    Under federal law, the term “boxing manager” means a “person who
15     receives compensation for service as an agent or representative of a boxer.” See 15
16     U.S.C. § 6301.
17            17.    Under California law, the term “boxing manager” means, “any person
18     who … undertakes … to represent in any way the interest of any professional
19     boxer … .” Cal. Bus. & Prof. Code § 18628. A boxing manger must be properly
20     licensed within the State of California to execute his/her duties under the law. See
21     Cal. Bus. & Prof. Code § 18642; 4 CCR § 216.
22            18.    Under federal law, the term “boxing promoter” means “the person
23     primarily responsible for organizing, promoting, and producing a professional
24     boxing match.” 15 U.S.C. § 6301.
25            19.    Under California law, the term “boxing promoter” means “a
26     corporation, partnership, association, individual, or other organization which
27     conducts, holds, or gives a boxing or martial arts contest, match, or exhibition.”
28     Cal. Bus. & Prof. Code § 18622.
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 1           20.    Federal law creates a “firewall” between managers and promoters in
 2     order to protect the boxer. 15 U.S.C. § 6308.
 3           21.    As with managers, promoters are required to have a license. Cal. Bus.
 4     & Prof. Code § 18641; see also 4 CCR § 213.
 5           22.    A licensed promoter may do business with other licensed promoters.
 6     Cal. Bus. & Prof. Code § 18668.
 7           23.    Violations of the federal Professional Boxing Safety Act of 1996
 8     (PBSA), as amended by the Muhammad Ali Boxing Reform Act of 2000 (“Ali
 9     Act”) carry civil and criminal penalties. See, generally, 15 U.S.C. § 6309.The
10     public policy behind the statutory scheme, inter alia, is to ensure transparency with
11     respect to how a boxer receives income.
12                            BRIEF STATEMENT OF FACTS
13                  A. Mr. Diaz and Mr. Heredia had a long-standing and successful
14                     boxer-manager relationship.
15           24.    Mr. Heredia has known Mr. Diaz since Mr. Diaz competed as an
16     amateur boxer prior to his qualification for the 2012 Summer Olympics. After Mr.
17     Diaz completed in the 2012 Summer Olympic Games in London, he became a
18     professional boxer.
19           25.    Mr. Heredia managed Mr. Diaz’s boxing career for almost a decade.
20     During this time, Mr. Heredia brought Mr. Diaz three world championship bouts
21     and negotiated the 2017 Promotion Agreement with GBP.
22           26.    Diaz and GBP signed the Promotion Agreement on March 22, 2017.
23     The Promotion Agreement expired on March 21, 2022.
24           27.    The terms of the Promotion Agreement provided Mr. Diaz with a
25     $150,000 signing bonus and guaranteed two bouts with purses of $150,000 and
26     $200,000 shortly after the signing of the agreement.
27           28.    In his later arbitration award, the Executive Director of the California
28     State Athletic Commission (“Commission”) stated that this Promotion Agreement
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 1     was “lucrative” for Mr. Diaz. The Promotion Agreement also contained a net
 2     proceeds clause should Mr. Diaz be the “A” side of a main event bout on Pay-Per-
 3     View (PPV).
 4           29.    The Promotion Agreement contained a “no assignment” clause for the
 5     boxer, which stated: “Neither the benefits nor the duties of Boxer [Mr. Diaz] under
 6     this Agreement may be assigned or transferred for any reason.”
 7           30.    The Promotion Agreement also required Mr. Diaz to list his
 8     representatives, if any. Mr. Diaz listed Moses Heredia and Ralph Heredia.
 9           31.    Mr. Diaz fought ten bouts under Mr. Heredia’s management, pursuant
10     to a Boxer-Manager Contract dated February 23, 2017 (“2017 Contract”) and his
11     Promotion Agreement dated March 22, 2017. At all times relevant to this
12     Complaint, the 2017 Contract between Mr. Heredia and third-party Mr. Diaz was
13     valid. The existence of this 2017 Contract was public knowledge, being listed on
14     the Commission’s website, and all Defendants knew of the 2017 Contract. There
15     were no issues with the relationship for over three years, until the Defendants in
16     this case lured Mr. Diaz away from Mr. Heredia’s management.
17                  B. Mr. Kinahan, through MTK and its affiliates, is deeply
18                     connected to professional boxing and is also an international
19                     narco-terrorist, who has recently been sanctioned by the
20                     United States Government as a result of his involvement in
21                     criminal activity to include money laundering, and which also
22                     resulted in the seizure of Mr. Kinahan’s assets by the United
23                     Arab Emirates.
24           32.    MTK was co-founded by Mr. Kinahan. Mr. Kinahan is alleged to run
25     the day-to-day operations of the Kinahan Organized Crime Group (“KOCG”) in
26     Ireland. The KOCG is allegedly responsible for, inter alia, several murders, drug
27     trafficking, and money laundering (criminal activity). The KOCG is believed to be
28     one of Europe’s biggest criminal cartels. Law enforcement believes that Mr.
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 1     Kinahan started various legitimate business entities to launder ill-gotten gains from
 2     criminal activity resulting in some of them already being placed on a sanctioned
 3     list. As a result of Mr. Kinahan’s being sanctioned, any person or business
 4     engaging in business with him and his entities may be subject to the same
 5     consequences; MTK Global has suffered from a complete exodus of fighters and
 6     business to business relationships resulting in their decision to cease operations as
 7     of the end of April, 2022. More information concerning the nature of Mr.
 8     Kinahan’s involvement in MTK and money laundering will be known after a
 9     reasonable opportunity for further investigation or discovery.
10           33.    Law enforcement believes that Mr. Kinahan started MTK to launder
11     ill-gotten gains from criminal activity . More information concerning the nature of
12     Mr. Kinahan’s involvement in MTK and money laundering will be known after a
13     reasonable opportunity for further investigation or discovery.
14           34.    Mr. Kinahan is wanted for questioning by several law enforcement
15     agencies due to the murderous activities of the KOCG. On or about September 16,
16     2018, the United States Customs and Border Protection (CBP) banned Mr.
17     Kinahan and roughly 26 other members of the KOCG from entering America due
18     to narco-terrorism concerns.
19           35.    In 2016, Mr. Kinahan fled Ireland to Dubai, UAE after a boxing
20     match he promoted ended in violence at the Regency Hotel in Dublin, Ireland.
21     During that boxing match, several masked gunmen fired AK-47s into the crowd,
22     killing one person and injuring several more. This shooting was an alleged attempt
23     on Mr. Kinahan’s life by a rival crime family.
24           36.    On April 11, 2022, the U.S. Treasury Department’s Office of Foreign
25     Assets Control (OFAC) designated the Kinahan Organized Crime Group as a
26     “Transnational Criminal Organization,” and designated Mr. Kinahan, along with
27     several other KOCG members, as Specially Designated Nationals.
28           37.    OFAC accused the KOGC of smuggling deadly narcotics, including
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 1     cocaine, to Europe, and declared it “a threat to the entire licit economy through its
 2     role in international money laundering.”
 3           38.    In a statement, OFAC stated that Mr. Kinahan runs the day-to-day
 4     operations of the organization.
 5           39.    As part of the sanctions, OFAC prohibited any U.S. persons or
 6     businesses from working with Mr. Kinahan or any member of the KOGC. The
 7     U.S. has offered a $5 million reward each for information that will lead to the
 8     “financial destruction” of the KOGC or the arrest and conviction of each of its
 9     leaders, including Mr. Kinahan.
10           40.    The United Arab Emirates (UAE) has joined in what has now become
11     a global investigation into the life and accused crimes of Mr. Kinahan. The UAE
12     froze all identified assets of the Kinahan Organized Crime Group along with
13     issuing sanctions on Mr. Kinahan as well as his known associates: his father
14     Christopher Vincent ‘Christy’ Kinahan Sr., and his brother Christy Jr.
15           41.    U.S. businesses are already forbidden from conducting business with
16     Mr. Kinahan and the six others named as key members of the KOCG, along with
17     three identified businesses.
18           42.    UAE has taken the same measures, which will greatly impact what
19     has become a growing boxing scene in Dubai. For example, Mr. Kinahan
20     developed a relationship with a fledgling UAE promotional company called
21     “Probellum.” Probellum recently held a two-night event in March 2022 attended
22     by Mr. Kinahan as well as Rai Taimoor Khan, the Provincial Minister of Punjab
23     for Youth Affairs, Sports, Archaeology and Tourism.
24           43.    Khan tweeted pictures he took with Mr. Kinahan and associate Sandra
25     Vaughan, and mentioning a meeting with “Probellum on aligning vision on boxing
26     for Punjab & how to make this sport bigger for our youth. Looking forward to
27     hosting Daniel in Lahore to discuss Pakistan’s first International fight with foreign
28     world class boxers InshAllah. Will share more info in the upcoming weeks.”
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 1         44.    Vaughan purchased MTK Global from Matthew Macklin – Kinahan’s
 2   close friend and a former middleweight title challenger – in 2017. The company
 3   was known as MGM Marbella at the time before being renamed to MTK (“Mack
 4   The Knife,” after Macklin’s ring moniker).
 5         45.    Vaughan assumed the role of CEO before stepping down from the
 6   position in 2020, though she and Kinahan remain at least friendly, and influential
 7   enough for the Punjabi provincial minister to believe they represented Probellum in
 8   their meeting.
 9         46.    The matter was admitted by Probellum officials as a mistaken
10   classification once OFAC announced its sanctions against Mr. Kinahan.
11                C. Mr. Kinahan controls MTK and its affiliates.
12         47.    MTK has claimed that it cut ties with Mr. Kinahan in 2017. This
13   claim is belied by the boxing word’s near-immediate reaction to Mr. Kinahan’s
14   being sanctioned by OFAC.
15         48.    MTK USA may have been the contracting party with Mr. Diaz but all
16   of the interactions regarding his fights and Mr. Diaz’s matters were directed by
17   MTK personnel to include Paul Gibson as reflected in emails exchanges between
18   VGC and Golden Boy.
19         49.    Within days OFAC’s designation of Mr. Kinahan as a Specially
20   Designated National, and despite Mr. Kinahan denying connections to any co-
21   defendant MTK entity, the boxing world has dropped Mr. Kinahan and co-
22   defendant MTK knowing that their continued connection to Mr. Kinahan and his
23   businesses would endanger their liberty and financial interests.
24         50. Indeed, shortly after Mr. Kinahan’s designation as a Specially
25   Designated National, co-defendant MTK announced on its website,
26   www.mtkglobal.com, “Since leading promoters have now informed us that they
27   will be severing all ties with MTK and will no longer work with our fighters, we
28   have taken the difficult decision to cease operations at the end of this month.”
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 1            51.   In an exclusive interview with an Irish news organization, Top Rank
 2   founder and chairman Mr. Bob Arum said: “We all know what MTK was and who
 3   controlled it and once the US spoke as forcefully as they did, nobody involved in
 4   boxing was going to have anything to do with them.”
 5            52.   Asked if Mr. Kinahan, to his knowledge, continues to be involved in
 6   running MTK, Mr. Arum stated: “A hundred per cent. He founded it, it’s his
 7   company.” Mr. Arum further added, “He can say what he wants, I know for fact
 8   from some of the stuff that he did, that it was his company – whatever the books
 9   said.”
10            53.   Mr. Arum had done business with Mr. Kinahan and MTK but he cut
11   ties with both after OFAC’s April 11, 2022 designations of Mr. Kinahan and the
12   KOCG.
13            54.   Despite the strong evidence that Mr. Kinahan ran or operated MTK,
14   Mr. Kinahan represented to this Court otherwise under penalty of perjury on March
15   14, 2022, stating, “I do not work for and am not employed by MTK Global Sports
16   Management, LLC, MTK Global USA, LLC, Golden Boy Productions, Inc.,
17   Golden Boy Promotions, Inc., VGC, LLP, or Paul D. Gibson.” [ECF 73-1]
18                  D. MTK, its affiliates, and Mr. Kinahan laundered proceeds from
19                     Mr. Kinahan’s and KOCG’s criminal activities to pay the
20                     money through MTK and MTK USA to help lure Mr. Diaz
21                     away from Mr. Heredia’s management.
22            55.   On August 4, 2020, MTK USA, through an employee of MTK, signed
23   what is titled and purported to be a business advisory agreement with Mr. Diaz,
24   unbeknownst to Mr. Heredia. Mr. Heredia became aware of the signing though a
25   text message sent by Mr. Diaz to Mr. Ralph Heredia, Mr. Heredia’s brother, on
26   August 9, 2020 and later through press releases and social media on August 12,
27   2020. Mr. Diaz texted Ralph Heredia on August 9, 2020 stating: “I signed an
28   advisory deal with MTK, it’s being Announced tomorrow. I’m doing this for my
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 1   career and feel like it’s the best choice. It’s time for a change. [flexed arm emoji].”
 2   This was an intentional act by Defendants MTK, MTK USA, Mr. Kinahan, and
 3   Mr. Gibson designed to induce a breach or disruption of the contractual
 4   relationship between Mr. Heredia and Mr. Diaz, and it did in fact breach or disrupt
 5   the contractual relationship between Mr. Heredia and Mr. Diaz. The 2017 Contract
 6   would otherwise have been performed but for these Defendants’ alleged
 7   misconduct.
 8         56.     Per the terms of the MTK USA purported business advisory
 9   agreement with Mr. Diaz, MTK USA advanced $100,000 to Mr. Diaz upon
10   execution of the agreement. These funds are believed to be the proceeds of
11   criminal activity generated by Mr. Kinahan and his KOCG, laundered through
12   MTK, Mr. Kinahan, and his KOCG.
13         57.     At all relevant times MTK received or obtained the money used to pay
14   Mr. Diaz, either directly or indirectly from a pattern of racketeering activity by Mr.
15   Kinahan’s laundering of proceeds from his and his KOCG’s criminal activities.
16   More information concerning the nature of Mr. Kinahan’s involvement in MTK
17   will be known after a reasonable opportunity for further investigation or discovery.
18         58.     MTK is associated with Mr. Daniel Kinahan and his KOCG. The
19   KOCG is an association-in-fact that operates one of Europe’s largest criminal
20   cartels and money laundering operations according to several law enforcement
21   agencies. Mr. Kinahan co-founded MTK with Matthew “Mack The Knife”
22   Macklin. Mr. Kinahan conceived and co-founded MTK in an attempt to launder
23   illicit proceeds from criminal activity through a seemingly lawful business. At this
24   time we have no indication that Mr. Macklin knowingly participated in any of Mr.
25   Kinahan’s criminal enterprise activity. He, along with numerous other boxing
26   professionals, is under scrutiny by U.S. authorities was recently denied entry into
27   the United States as a result of the U.S. Treasury’s recent actions against Mr.
28   Kinahan and his KOCG. More information concerning the nature of Mr.
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 1   Kinahan’s involvement in MTK and money laundering will be known after a
 2   reasonable opportunity for further investigation or discovery.
 3         59.    MTK received or obtained money, either directly or indirectly, from
 4   criminal activity and money laundering through its association with Mr. Kinahan.
 5   More information concerning the nature of Mr. Kinahan’s involvement in MTK
 6   will be known after a reasonable opportunity for further investigation or discovery.
 7         60.    At all times relevant to this third amended Complaint, Mr. Kinahan
 8   continued to arrange boxing matches that involved MTK fighters. These matches
 9   were steeped in money obtained from Mr. Kinahan’s and KOCG’s criminal
10   activity and these monies were siphoned off Mr. Kinahan’s and KOCG’s criminal
11   activity proceeds and then laundered through MTK as what are presented as
12   legitimate business expenses. MTK then used this money to attempt to bring in
13   more fighters and arrange more fights so that more criminal activity proceeds
14   could be laundered through what appeared to be a legitimate business.
15         61.    MTK’s thirst for new boxers supported the KOCG’s money
16   laundering needs. This thirst brought MTK to the US market and to the
17   interference with Mr. Diaz and Mr. Heredia. More information concerning the
18   nature of Mr. Kinahan’s involvement in MTK will be known after a reasonable
19   opportunity for further investigation or discovery.
20         62.    MTK engaged in a pattern of racketeering activity by approaching
21   several US fighters and offered similar “marketing advisor” arrangements. More
22   information concerning the nature of MTK’s entry into the U.S. boxing market will
23   be known after a reasonable opportunity for further investigation or discovery.
24         63.    MTK’s racketeering activity continues to involve itself in criminal
25   activity and money laundering through its association with Mr. Kinahan.
26         These acts are likely to be repeated in the future. MTK advertised on its
27   website that it is one of the biggest forces in boxing and is encouraging children as
28   young as 15 to sign up with them to get more and more boxers in its control to
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 1   continue the money laundering operation. This also includes a drive to become a
 2   dominant player in the United States as MTK continues its expansion into the
 3   United States. More information concerning the nature of MTK’s entry into the
 4   U.S. boxing market will be known after a reasonable opportunity for further
 5   investigation or discovery.
 6         64.    MTK has participated as a principal in the pattern of racketeering
 7   activity. MTK either committed or aided, abetted, counseled, commanded,
 8   induced, or procured the commission of several predicate acts that form a pattern
 9   of racketeering activity. More information concerning the nature of Mr. Kinahan’s
10   involvement in MTK will be known after a reasonable opportunity for further
11   investigation or discovery.
12         65.    MTK also willfully caused the commission of two or more alleged
13   predicate acts that make up the pattern of racketeering activity. MTK committed
14   these predicate acts with intent or knowledge. MTK knows that Mr. Kinahan is
15   involved in criminal activity and money laundering and yet MTK still associates
16   with Mr. Kinahan and does business regularly with Mr. Kinahan. Further, MTK
17   itself is engaged in predicate acts when it provided these illicit funds to Mr. Diaz.
18         66.    MTK uses the income or proceeds derived from the racketeering
19   activity to acquire, maintain, or operate an enterprise. An “enterprise” may consist
20   of an individual, partnership, corporation, association, or other legal entity. Here,
21   MTK has attempted to acquire an interest in Mr. Joseph Diaz, as a professional
22   boxer. MTK provided Mr. Diaz $100,000 to induce him to breach his contract with
23   Plaintiff without proper licensure, contractual, or lawful authority. These funds are
24   directly or indirectly derived from racketeering activity as described above.
25         67.    MTK receives funds directly or indirectly from Mr. Kinahan, which
26   are derived from racketeering activity such as criminal activity and money
27   laundering. MTK itself is laundering the illicit proceeds of the KOCG criminal
28   activity enterprise. More information concerning the nature of Mr. Kinahan’s
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 1   involvement in MTK and money laundering will be known after a reasonable
 2   opportunity for further investigation or discovery.
 3         68.    MTK is engaged in interstate and foreign commence. It is a foreign
 4   business entity operating in the United States, namely California. MTK is using
 5   and abusing US law in an attempt to gain a foothold in a lucrative market to
 6   continue its money laundering operation. More information concerning the nature
 7   of Mr. Kinahan’s involvement in MTK and money laundering will be known after
 8   a reasonable opportunity for further investigation or discovery.
 9         The acts of MTK, Mr. Kinahan, and Mr. Gibson have caused damage to
10   Plaintiff: they used laundered racketeering income to injure Plaintiff.
11                E. MTK USA, with MTK and GBP, improperly lured Mr. Diaz
12                   from Mr. Heredia’s management and unlawfully negotiated
13                  bouts for Mr. Diaz.
14         69.    On August 4, 2020, MTK USA, through an employee of MTK, signed
15   what is titled and purported to be a business advisory agreement with Mr. Diaz,
16   unbeknownst to Mr. Heredia. This was an intentional act by Defendant GBP
17   designed to induce a breach or disruption of the contractual relationship between
18   Mr. Heredia and Mr. Diaz, and it did in fact breach or disrupt the contractual
19   relationship between Mr. Heredia and Mr. Diaz. The 2017 Contract would
20   otherwise have been performed but for the Defendant’s alleged misconduct.
21         70.    Mr. Heredia became aware of the signing though a text message sent
22   by Mr. Diaz to Mr. Ralph Heredia, Mr. Heredia’s brother, on August 9, 2020 and
23
     later through press releases and social media on August 12, 2020. Mr. Diaz texted
24
     Ralph Heredia on August 9, 2020 stating: “I signed an advisory deal with MTK,
25
     it’s being Announced tomorrow. I’m doing this for my career and feel like it’s the
26
     best choice. It’s time for a change. [flexed arm emoji].”
27
           71.    Thereafter Mr. Heredia and Ralph Heredia called Mr. Diaz, but Mr.
28
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 1   Diaz did not respond and stopped communicating with Mr. Heredia.
 2          72.   After Mr. Diaz signed the “business advisory” agreement, GBP and a
 3   law firm, VGC, LLP (“VGC”) negotiated for Mr. Diaz to engage in a title defense
 4   on February 13, 2021. Emails and letters between GBP and VGC in November
 5   2010 demonstrate that individuals from these entities were directly negotiating,
 6   while cutting out Mr. Heredia from the negotiations, despite the 2017 Contract
 7   being valid and in full force and effect at that time.
 8          73.   Mr. Heredia was not involved in scheduling the fight and did not
 9   provide his written permission for the bout, despite the 2017 Contract requiring
10
     him to do so. Mr. Diaz failed to make weight prior to the fight and was stripped of
11
     his title.
12
            74.   Although the fight went forward as scheduled, Mr. Diaz was required
13
     to pay a $100,000 penalty (20% of his purse) for missing weight. The fight ended
14
     in a draw, taking Diaz’ record to 33-1-1. Per the 2017 Contract, Heredia should
15
     have received 18% ($72,000) of Mr. Diaz’ reduced purse from the fight.
16
17          75.   Mr. Diaz still has not paid Mr. Heredia that required sum, and Mr.

18   Heredia has had to file a California state court action to enforce this portion of the

19   arbitration award.
20          76.   While the 2017 Contract was still valid and in full force and effect
21   between Mr. Heredia and Mr. Diaz, GBP negotiated another bout for Mr. Diaz, this
22   one on July 9, 2021.
23          77.   With GBP freezing out Mr. Heredia from communicating with his
24   fighter, Mr. Diaz, Mr. Heredia was also not involved in scheduling this fight and
25   did not provide his required written permission for the bout.
26          78.   Mr. Diaz’ purse for the July 9, 2021 fight was $500,000. Per the 2017
27
     Contract, Heredia was entitled to 18% ($90,000) of Mr. Diaz’ purse from the fight.
28
            79.   In an arbitration over Mr. Diaz’ breach of the 2017 Contract, the
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 1   arbitrator decided in favor of Mr. Heredia. Mr. Diaz did not pay Mr. Diaz that sum
 2   until 10 days after ordered to in the arbitration award.
 3         80.     During the course of the arbitration process, GBP in coordination with
 4   VGC and MTK / MTK USA, presented an altered bout agreement to the
 5   Commission for a significantly lower amount than the $500,000 in an effort to
 6   reduce the amount of the payout to Mr. Heredia. The Commission rejected this
 7   attempt to interfere with the 2017 Contract and disapproved the altered bout
 8   agreement.
 9         81.     In his decision on July 10, 2021, the Executive Director ultimately
10
     ordered GBP to withhold $90,000 from Mr. Diaz’s purse, which was 18% of the
11
     full $500,000 bout payout to Mr. Diaz.
12
           82.     The bouts on February 13, 2021 and July 9, 2021 were negotiated in
13
     part by MTK / MTK USA and their employees and agents and VGC. None of
14
     MTK, MTK USA, Mr. Kinahan, Mr. Gibson, nor VGC possesses the proper
15
     licensure to perform either boxing management or promotional services in
16
17   California.

18         83.     These representations also violated US federal law, which prohibits

19   one company from providing both boxing management and promotion services.
20   See 15 U.S.C. § 6308.
21         84.     As detailed further below, per the terms of the MTK USA purported
22   “business advisory” agreement with Mr. Diaz, MTK USA advanced $100,000 to
23   Mr. Diaz upon execution of the agreement. These funds are believed to be
24   laundered proceeds of criminal activities conducted by Mr. Kinahan and his
25   KOCG.
26         85.     The purported business advisory agreement states MTK USA is Mr.
27
     Diaz’s sole and exclusive business advisor.
28
                                               -17-
                                                                THIRD AMENDED COMPLAINT
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 1         86.    MTK and MTK USA’s purported business advisory agreement with
 2   Mr. Diaz is seemingly only about business advisements. However, the actions of
 3   Mr. Gibson, MTK / MTK USA and VGC show this is actually a boxing
 4   management contract. Mr. Paul Gibson, an MTK employee, directly negotiated the
 5   terms of a bout between Mr. Diaz and another fighter, Mr. Shavkatdzhon
 6   Rakhimov, on February 13, 2021. Further, these Defendants negotiated for and
 7   arranged a second bout on July 9, 2021.
 8         87.    Mr. Heredia asked Mr. Steve Bash, an attorney duly licensed in
 9   California, to investigate this “business advisory” agreement.
10         88.    Mr. Bash called Mr. Bob Yalen, CEO of MTK on August 30, 2020.
11   Mr. Yalen claimed not to have knowledge of the MTK USA agreement with Mr.
12   Diaz but stated he would inquire into it.
13         89.    However, Mr. Yalen is the signatory for MTK USA on the August 4,
14   2020 agreement and is quoted in a press release dated August 12, 2020 stating “We
15   are honoured to welcome a boxing superstar in world champion JoJo Diaz to the
16   team. His amazing record speaks for itself and he’s one of the best pound for
17   pound boxers in the world, so to have him sign with MTK Global is a massive
18   statement of intent in terms of our expansion into America. He currently holds the
19   IBF super-featherweight belt, and we’re determined to help him build on that great
20   success.”
21         90.    On August 14, 2020, Mr. James Greeley of VGC reached out to Mr.
22   Bash stating that Mr. Yalen asked him to get in touch. Mr. Greeley stated he
23   represented Mr. Diaz. Thereafter they had a call to discuss MTK’s intention. Mr.
24   Bash requested a copy of the MTK USA agreement, which was not provided.
25         91.    On August 20, 2020 at around 8:00 pm, Mr. Greeley emailed Mr.
26   Bash asking for a phone call. On August 21, 2020, Mr. Bash responded that Mr.
27   Heredia requested not to have any further communications until the MTK USA
28   agreement is provided.
                                                 -18-
                                                               THIRD AMENDED COMPLAINT
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 1         92.    A few hours later, Mr. Greeley responded stating various claims
 2   against Mr. Heredia and requesting to see all offers from GBP. Shortly thereafter,
 3   Mr. Bash responded by providing the information from GBP. During this email
 4   exchange Mr. Greeley’s rhetoric continued to increase. At some point after this
 5   email Mr. Greeley instructed GBP to communicate with him as Diaz’s legal
 6   counsel—and not Mr. Heredia—and by September 14, 2020, Mr. Greeley
 7   instructed Mr. Bash to tell Mr. Heredia not to have any communications with
 8   Golden Boy that purport to be on Mr. Diaz’s behalf.
 9         93.    VGC abandoned this position during the arbitration on June 10, 2021
10   as memorialized by the decision of the arbitrator.
11         94.    Shortly thereafter, on October 7, 2020, a complaint by Mr. Diaz was
12   filed and litigation ensued. See Docket No. 5:20-cv-02332-JWH-KK (C.D. Cal.).
13         95.    The MTK USA “business advisory” agreement was finally disclosed
14   during the arbitration on June 10, 2021.
15         96.    When Mr. Diaz signed the MTK USA purported business advisory
16   agreement and ceased communication with Mr. Heredia, he breached the 2017
17   Contract.
18         97.    Without the MTK USA agreement and no communication from Mr.
19   Diaz, Mr. Heredia sought to confirm his rights under the 2017 Contract. The terms
20   of the 2017 Contract required that any dispute be submitted for arbitration within
21   two weeks after the origin of the dispute.
22         98.    In accordance with this provision, on August 20, 2020, Mr. Heredia
23   filed an arbitration request with the Commission with respect to Mr. Diaz’s breach
24   of contract pursuant to the terms of the 2017 Contract and relevant statutory and
25   regulatory provisions.
26         99.    The 2017 Contract states, in relevant part: “Boxer [Mr. Diaz] Agrees
27   … that Boxer will not, during the term of this agreement, take or engage in any
28   boxing contests, exhibitions or training exercises without first having obtained the
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 1   written permission of Manager [Mr. Heredia] to do so.”
 2         100. The Commission accepted the arbitration request, however, due to
 3   delays perpetuated by Diaz, the arbitration did not take place until June 10, 2021.
 4         101. The arbitrator found the 2017 Contract between Mr. Heredia and Mr.
 5   Diaz to be valid, and Mr. Diaz was ordered to pay Mr. Heredia his full
 6   management fees for the two aforementioned bouts that were negotiated without
 7   his assistance.
 8         102. One of those payments was made, albeit late and in the face of
 9   significant scrutiny by the California commission, and the second has not yet been
10   made. Mr. Greely informed the California State Commission they were without
11   authority to compel payment order pursuant to the Arbitration decision (not
12   appealed by Diaz), which the California Commission rejects and Mr. Heredia was
13   left with no other options to collect these sums, and recently had to file a California
14   state enforcement action to attempt to collect that second payment owed to him by
15   Mr. Diaz.
16         103. During the arbitration on June 10, 2021, the Executive Director of the
17   Commission found that Mr. Diaz and Mr. Heredia’s relationship was irreparably
18   harmed.
19         104. On July 10, 2021, the Executive Director, through his decision,
20   canceled the remainder of the 2017 Contract due to the irreparable nature of the
21   relationship. Mr. Heredia has been harmed by the early termination of this contract.
22         105. The early termination would not have occurred if MTK and MTK
23   USA did not induce the breach of the Boxer-Manager Contract and GBP did not
24   facilitate or allow MTK, MTK USA, and Mr. Gibson to substitute as Mr. Diaz’s
25   managers.
26         106. VGC, as MTK or MTK USA’s proxy, negotiated bouts for Mr. Diaz
27   while the 2017 Contract was in full legal force and effect, usurping Mr. Heredia’s
28   role as Mr. Diaz’ lawful and exclusive manager at the time.
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 1         107. For example, in a November 11, 2020 email from VGC to GBP, VGC
 2   states: “We received your letter. We will, of course, present any legitimate offer to
 3   Mr. Diaz. A legitimate offer contains at least the following elements: (1) an
 4   opponent; (2) a purse; (3) a date; (4) and a location. Your note is missing half of
 5   those, and instead gives an undefined two month timeframe for a bout with no
 6   location set. This overture is pretext meant to create the illusion of contractual
 7   compliance where it does not exist.”
 8         108. No individual in VGC or MTK, nor Mr. Kinahan, is licensed to
 9   perform boxing management functions in the State of California. See Cal. Bus. &
10   Prof. Code § 18628; see generally 15 U.S.C. §§ 6301-6313.
11         109. These actions, by Mr. Kinahan’s MTK and MTK USA, through VGC,
12   are definitional management services as defined by Cal. Bus. & Prof. Code §18628
13   and were taken with respect to Mr. Diaz in violation of the 2017 Contract.
14         110. VGC and MTK did this despite knowing that Mr. Diaz had a valid
15   Boxer-Manager Contract with Mr. Heredia. More information concerning the
16   nature of the interactions between VGC, MTK, and GBP will be known after a
17   reasonable opportunity for further investigation or discovery.
18                F. Mr. Diaz instructed Golden Boy to withhold funds lawfully
19                   earned by, and owed to, Mr. Heredia.
20         111. GBP and Mr. Heredia have a long history. They have worked together
21   for several years. Notwithstanding their long business relationship and GBP’s
22   knowledge of MTK’s violations of the law, GBP has negotiated for its own
23   financial gain with MTK as if MTK was the manager of Mr. Diaz in violation of
24   the Muhammad Ali Boxing Reform Act.
25         112. Mr. Diaz and GBP advertised bouts for Mr. Diaz on February 13,
26   2021 and on July 9, 2021. These bouts were premised on the 2017 promotional
27   agreement with GBP that Mr. Heredia had previously negotiated for Mr. Diaz.
28   This is yet another time MTK and GBP have worked together and intentionally
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 1   frozen out Mr. Heredia from the process, despite him being Mr. Diaz’s lawful and
 2   exclusive boxing manager.
 3         113. Payment in connection with boxing bouts is a bifurcated process.
 4   Prior to the bout itself, the promoter and boxer meet, without the boxer’s manager,
 5   and the boxer directs the promoter to cut checks to members of his team, including
 6   his manager. The checks are held by the promoter until after the bout, at which
 7   time the promoter delivers the checks to the appropriate payees.
 8         114. Per the 2017 Contract, Mr. Heredia should have received 18%
 9   ($72,000) of Mr. Diaz’ reduced purse from the February 13, 2021 bout. MTK,
10   MTK USA, and Mr. Diaz’ counsel advised Mr. Diaz to instruct GBP not to release
11   those funds that Mr. Diaz lawfully owed Mr. Heredia under the 2017 Contract and
12   in accord with the Promotion Term Sheet between GBP, Diaz and Heredia. Mr.
13   Diaz still has not paid Mr. Heredia that required sum, and Mr. Heredia has had to
14   file a California state court action to enforce this portion of the arbitration award.
15         115. While the 2017 Contract was still valid and in full force and effect
16   between Mr. Heredia and Mr. Diaz, GBP negotiated another bout for Mr. Diaz, this
17   one on July 9, 2021. With GBP freezing out Mr. Heredia from communicating
18   with his fighter, Mr. Diaz, Heredia was also not involved in scheduling this fight
19   and did not provide his required written permission for the bout. Mr. Diaz’ purse
20   for the July 9, 2021 fight was $500,000. Per the 2017 Contract, Mr. Heredia was
21   entitled to 18% ($90,000) of Mr. Diaz’ purse from the fight. As a result of the
22   Defendants’ interference Mr. Diaz instructed GBP not to pay Mr. Heredia his
23   lawfully-owed management fees under the 2017 Contract. Mr. Diaz did not pay
24   Mr. Diaz that sum until 10 days after ordered to in the arbitration award. Mr.
25   Heredia was left with no choice but to file a California state court enforcement
26   action against Mr. Diaz to collect this sum, which is lawfully Mr. Heredia’s under
27   the 2017 Contract and the Arbitration award.
28         116. The Defendants have engaged in a years-long campaign to ruin Mr.
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 1   Heredia’s reputation in the community through lies, surrogates, and blatantly false
 2   allegations, and frivolous/ legally unsupportable complaints.
 3         117. The damages have been significant. Mr. Heredia was in negotiations
 4   with at least ten potential international Olympians, world champions, and amateur
 5   boxers that were free agents with no contract with any manager in an attempt to
 6   build on their unprecedented success of having two world champions, including
 7   one homegrown over several years – something that is considered a unicorn in the
 8   world of boxing.
 9         118. These actions were strategically undertaken to have a devasting
10   impact upon Mr. Heredia particularly in light of the Summer Olympics of 2021,
11   which is prime recruitment period for boxing managers to attract new talent to their
12   stables. The defamatory nature and aggressive strategy funded by defendants to
13   preserve their position and take out the one manager whose success was a threat to
14   them has cost Mr. Heredia millions in fighter recruitment.
15         119. GBP has disregarded its contractual obligations with respect to the
16   2017 promotional agreement with respect to Plaintiff.
17         120. MTK, MTK USA, their agents, and GBP openly and notoriously
18   interfered with the boxing management contract between Mr. Diaz and Mr.
19   Heredia. Further, MTK, MTK USA, and GBP caused Mr. Diaz to breach the 2017
20   Contract with Mr. Heredia on at least two separate occasions.
21      MTK personnel signed the MTK USA “business advisory agreement.” This
22   suggests that it is a legal fiction that MTK and MTK USA had a distinct corporate
23   existence. That there is such a unity of interest and ownership between MTK and
24    MTK USA further suggests that the separate personalities of the corporations no
25    longer exist and that, if the acts of MTK USA are treated as those of it alone, an
26   inequitable result would follow in that MTK would be able to unfairly shield itself
27          from liability for its misdeeds in this case. CAUSES OF ACTION
28                             FIRST CAUSE OF ACTION
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 1     RICO § 1962(a) – Acquiring an Interest in an Enterprise by Use of Income
 2               (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
 3         121. Plaintiff incorporates by reference and realleges each and every
 4   allegation contained in the paragraphs above as though fully set forth herein.
 5         122. MTK is an enterprise engaged in and whose activities affect interstate
 6   commerce. MTK is an international boxing management and promotion company
 7   and engages in marketing boxing and other fighting sport events through television
 8   and the internet. MTK is operating in several markets to include this judicial
 9   district. MTK is associated with Mr. Kinahan and Mr. Gibson is MTK’s chief
10   strategy officer. More information concerning the nature of Mr. Kinahan’s
11   involvement in MTK will be known after a reasonable opportunity for further
12   investigation or discovery.
13         123. MTK derived income, directly or indirectly, from a pattern of
14   racketeering activity. Namely, through MTK’s association with Mr. Kinahan and
15   the KOCG, MTK has accepted income from criminal activity and money
16   laundering. Any investment by or through Mr. Kinahan necessarily is income
17   derived, directly or indirectly, from criminal activity and money laundering. More
18   information concerning the nature of Mr. Kinahan’s involvement in MTK and
19   money laundering will be known after a reasonable opportunity for further
20   investigation or discovery. Upon information and belief, these acts have occurred
21   more than once, are related to one another, and are continuous under both the
22   closed-end continuity theory and the open-ended continuity theory as the
23   relationship between MTK and the KOCG has been established over time and is
24   likely to be repeated into the future.
25         124. MTK used and invested income that was derived from a pattern of
26   racketeering activity in an interstate enterprise. Specifically, MTK was co-founded
27   my Mr. Daniel Kinahan who is the reported leader of the KOCG in Ireland. The
28   KOCG is known by several governments, including the United States Government
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 1   of engaging in narco-terrorism, criminal activity , and money laundering. MTK
 2   states that it has severed ties with Mr. Kinahan. However, while official ties on
 3   paper may have been severed, Mr. Kinahan is still influencing and controlling
 4   MTK. As recently as November 16, 2020 it is reported that MTK is still associated
 5   with Mr. Daniel Kinahan. MTK received income from Mr. Daniel Kinahan and the
 6   KOCG that was derived from a pattern of racketeering activity in an interstate
 7   enterprise. More information concerning the nature of Mr. Kinahan’s involvement
 8   in MTK and money laundering will be known after a reasonable opportunity for
 9   further investigation or discovery. MTK then used this income derived from a
10   pattern of racketeering activity to acquire an interest in Mr. Joseph “JoJo” Diaz, Jr,
11   an individual. Enterprises may consist of individuals.
12         125. The racketeering activity listed above constitutes a pattern of
13   racketeering activity pursuant to 18 U.S.C. § 1961(5).
14         126. MTK participated as a principle in the pattern of racketeering activity.
15   With knowledge of the KOCG and Mr. Kinahan’s criminal activity and money
16   laundering, MTK conspired with or aided and abetted the KOCG and Mr. Kinahan
17   to allow MTK to be used a front for money laundering. More information
18   concerning the nature of Mr. Kinahan’s involvement in MTK and money
19   laundering will be known after a reasonable opportunity for further investigation or
20   discovery. MTK received income from the predicate acts, directly or indirectly,
21   and then invested that income in the acquisition of an interest in Mr. Joseph Diaz,
22   Jr, an enterprise, which is engaged in interstate and international commerce.
23         127. As direct and proximate result of the MTK’s racketeering activities
24   and violations of 18 U.S.C. § 1962(a), Plaintiff has been injured in their business
25   and property in that: Plaintiff has an exclusive management boxer-manager
26   contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
27   causing harm to the business relationship between Plaintiff and Mr. Diaz and has
28   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
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 1   previously contracted for services in the management of Mr. Diaz to spoil. Further,
 2   the interference has caused harm to Plaintiff’s business reputation and goodwill
 3   and interference with prospective commercial relations. Mexican American boxers
 4   also have the highest draw in the boxing sport. Loss of world champion affects
 5   their standing in the boxing management community and amongst boxing
 6   promoters.
 7           128. WHEREFORE, Plaintiff requests that this Court enter judgment
 8   against the MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
 9   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
10   suit.
11                             SECOND CAUSE OF ACTION
12     RICO § 1962(b) – Acquiring or Maintaining an Interest in or Control of an
13                                        Enterprise
14                (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
15           129. Plaintiff incorporates by reference and realleges each and every
16   allegation contained in the paragraphs above as though fully set forth herein.
17           130. MTK is an enterprise engaged in and whose activities affect interstate
18   commerce.
19           131. MTK acquired and maintained interests in and control of the
20   enterprise through a pattern of racketeering activity. Specifically, on or about,
21   August 12, 2020, MTK provided Mr. Joseph Diaz, Jr. with an advance of $100,000
22   in exchange signing for a purported business advisory agreement in violation of the
23   current boxer-manager contract signed between Mr. Diaz and Plaintiff.
24           132. Mr. Diaz is an individual and individuals are considered “enterprises.”
25           133. The advance MTK provided Mr. Diaz was derived, directly or
26   indirectly from the predicate acts of criminal activity and money laundering as
27   described above. MTK is associated with and conspires with Mr. Kinahan and the
28   KOCG which is one of Europe’s largest criminal cartels. More information
                                              -26-
                                                                 THIRD AMENDED COMPLAINT
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 1   concerning the nature of Mr. Kinahan’s involvement in MTK and money
 2   laundering will be known after a reasonable opportunity for further investigation or
 3   discovery. MTK continues to maintain this interest in Mr. Diaz and recently
 4   tweeted about a February 13, 2021 mandatory title bout between Mr. Diaz and Mr.
 5   Shavkatdzhon Rakhimov. This bout was scheduled without input from or
 6   communication with Plaintiff. Further, MTK holds out on its website that Mr. Diaz
 7   is one of “their” boxers.
 8           134. The racketeering activity listed above constitutes a pattern of
 9   racketeering activity pursuant to 18 U.S.C. § 1961(5).
10           135. MTK has directly and indirectly acquired and maintained interests in
11   and control of the enterprise through the pattern of racketeering activity described
12   above, in violation of 18 U.S.C. § 1962(b).
13           136. As direct and proximate result of the MTK’s racketeering activities
14   and violations of 18 U.S.C. § 1962(b), Plaintiff has been injured in their business
15   and property in that: Plaintiff has an exclusive management boxer-manager
16   contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
17   causing harm to the business relationship between Plaintiff and Mr. Diaz and has
18   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
19   previously contracted for services in the management of Mr. Diaz to spoil. Further,
20   the interference has caused harm to Plaintiff’s business reputation and goodwill
21   and interference with prospective commercial relations. Mexican American boxers
22   also have the highest draw in the boxing sport. Loss of world champion affects
23   their standing in the boxing management community and amongst boxing
24   promoters.
25           137. WHEREFORE, Plaintiff requests that this Court enter judgment
26   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
27   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
28   suit.
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 1                             THIRD CAUSE OF ACTION
 2               RICO § 1962(c) – Conduct the Affairs of the Enterprise
 3               (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
 4         138. Plaintiff incorporates by reference and realleges each and every
 5   allegation contained in the paragraphs above as though fully set forth herein.
 6         139. MTK is an enterprise engaged in and whose activities affect interstate
 7   commerce.
 8         140. The Kinahan Organized Crime Group (KOCG) is an association-in-
 9   fact. See Boyle v. United States, 556 U.S. 938, 945-46 (2009) (quoting United
10   States v. Turkette, 452 U.S. 576, 580 (1981)). The KOCG is an enterprise engaged
11   in and whose activities affect interstate commerce.
12         141. The purported leader of the KOCG, Mr. Daniel Kinahan, co-founded
13   MTK as a front business to launder illicit proceeds from criminal activity . MTK
14   and the KOCG have also formed an association-in-fact to further this scheme. The
15   more boxers under MTK allows the KOCG to launder more money from criminal
16   activity . More information concerning the nature of Mr. Kinahan’s involvement in
17   MTK and money laundering will be known after a reasonable opportunity for
18   further investigation or discovery.
19         142. MTK is associated with or employed by the MTK/KOCG association-
20   in-fact enterprise. MTK is associated with the KOCG as described above due to its
21   relationship with Mr. Daniel Kinahan. More information concerning the nature of
22   Mr. Kinahan’s involvement in MTK and money laundering will be known after a
23   reasonable opportunity for further investigation or discovery.
24         143. MTK agreed to and did conduct and participate in the conduct of the
25   MTK/KOCG association-in-fact enterprise’s affairs through a pattern of
26   racketeering activity and for the unlawful purpose of intentionally and tortuously
27   interfering with Plaintiff’s boxer-manager contract. Specifically, MTK through its
28   association with the KOCG has been using income derived, directly or indirectly,
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 1   from KOCGs racketeering activities which include criminal activity and money
 2   laundering. MTK used this income derived from the KOCG to provide Mr. Diaz an
 3   advance of $100,000 on his next bout. MTK did so to invest in or acquire an
 4   interest in Mr. Diaz as a professional boxer as described above. MTK also benefits
 5   from these transactions as MTK receives additional money. Stated another way,
 6   MTK is allowed to re-invest the profits of the MTK/KOCG association-in-fact
 7   enterprise to continue to grow and expand. In doing so, MTK is becoming a large
 8   player in the boxing industry and destroying smaller family run operations like
 9   Plaintiff’s.
10          144. MTK knows that the KOCG is involved in criminal activity and
11   money laundering.
12          145. Pursuant to and in furtherance of their scheme, the MTK/KOCG
13   association-in-fact committed multiple related acts of criminal activity and money
14   laundering. More information concerning the nature of Mr. Kinahan’s involvement
15   in MTK and money laundering will be known after a reasonable opportunity for
16   further investigation or discovery.
17          146. The acts of criminal activity and money laundering set forth above
18   constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).
19          147. MTK has directly and indirectly conducted and participated in the
20   conduct of the MTK/KOCG association-in-fact enterprise’s affairs through the
21   pattern of racketeering and activity described above, in violation of 18 U.S.C. §
22   1962(c).
23          “In order to ‘participate, directly or indirectly, in the conduct of such
24          enterprise's affairs,’ one must have some part in directing those
25          affairs. Of course, the word ‘participate’ makes clear that RICO
26          liability is not limited to those with primary responsibility for the
27          enterprise's affairs, just as the phrase ‘directly or indirectly’ makes
28          clear that RICO liability is not limited to those with a formal position
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 1           in the enterprise, but some part in directing the enterprise's affairs is
 2           required.”
 3   Reves v. Ernst & Young, 507 U.S. 170, 179 (1993); See also Williams v. Mohawk
 4   Indus., Inc., 465 F.3d 1277, 1281 (11th Cir. 2006) (“… a RICO defendant must
 5   ‘conduct’ or ‘participate in’ the affairs of some larger enterprise and not just its
 6   own affairs.”). More information concerning the nature of Mr. Kinahan’s
 7   involvement in MTK and money laundering will be known after a reasonable
 8   opportunity for further investigation or discovery.
 9           148. As a direct and proximate result of the MTK, Mr. Kinahan, and Mr.
10   Gibson’s racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiff has
11   been injured in their business and property in that: Plaintiff has an exclusive
12   management boxer-manager contract with Mr. Diaz. The conduct of the
13   MTK/KOCG association-in-fact enterprise directly interferes with this contractual
14   relationship. This interference has caused harm to the business relationship
15   between Plaintiff and Mr. Diaz, interfered with other boxing contracts, and has
16   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
17   previously contracted for services in the management of Mr. Diaz to spoil. Further,
18   the interference has caused harm to Plaintiff’s business reputation and goodwill
19   and interference with prospective commercial relations. Boxers of Mexican
20   ethnicity are currently the highest draw in the profession of boxing and a loss of a
21   world champion Mexican boxer has wide ranging adverse impacts on the recruiting
22   and retention efforts of Mr. Heredia and his ability to negotiate with promotional
23   companies which is further demonstrated by GBP’s willingness to ignore its
24   contractual standing despite several years of a professional relationship.
25           149. WHEREFORE, Plaintiff requests that this Court enter judgment
26   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
27   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
28   suit.
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 1                            FOURTH CAUSE OF ACTION
 2       RICO § 1962(d) – Conspiracy to Conduct the Affairs of the Enterprise
 3               (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
 4         150. Plaintiff incorporates by reference and realleges each and every
 5   allegation contained in the paragraphs above as though fully set forth herein.
 6         151. As set forth above, the MTK agreed and conspired to violate 18
 7   U.S.C. § 1962(a) (b) and (c). Specifically MTK conspired with the KOCG
 8   association-in-fact enterprise to: (1) use or invest income that is derived from a
 9   pattern of racketeering activity in an interstate enterprise (§ 1962(a)); (2) acquire or
10   maintain interests in the Mr. Diaz as a professional boxer through a pattern of
11   racketeering activity (§ 1962(b)); and (3) conduct and participate in the conduct of
12   the affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
13   racketeering activity (§ 1962(c)). More information concerning the nature of Mr.
14   Kinahan’s involvement in MTK and money laundering will be known after a
15   reasonable opportunity for further investigation or discovery.
16         152. MTK has intentionally conspired and agreed to directly and indirectly
17   use or invest income that is derived from a pattern of racketeering activity in an
18   interstate enterprise, acquire or maintain interests in the enterprise through a
19   pattern of racketeering activity, and conduct and participate in the conduct of the
20   affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
21   racketeering activity.
22         153. MTK knew that its predicate acts were part of a pattern of
23   racketeering activity and agreed to the commission of those acts to further the
24   schemes described above. That conduct constitutes a conspiracy to violate 18
25   U.S.C. § 1962(a), (b) and (c), in violation of 18 U.S.C. § 1962(d). More
26   information concerning the nature of Mr. Kinahan’s involvement in MTK and
27   money laundering will be known after a reasonable opportunity for further
28   investigation or discovery.
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 1           154. As direct and proximate result of the MTK’s conspiracy, the overt acts
 2   taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d),
 3   Plaintiff has been injured in their business and property in that: Plaintiff has an
 4   exclusive management boxer-manager contract with Mr. Diaz. The conduct of the
 5   MTK/KOCG association-in-fact enterprise directly interferes with this contractual
 6   relationship.
 7           155. The income MTK is investing into Mr. Diaz is directly causing harm
 8   to the business relationship between Plaintiff and Mr. Diaz and has caused Mr.
 9   Diaz to stop communicating with Plaintiff resulting in several previously
10   contracted for services in the management of Mr. Diaz to spoil. Further, the
11   interference has caused harm to Plaintiff’s business reputation and goodwill and
12   interference with prospective commercial relations. Mexican American boxers also
13   have the highest draw in the boxing sport. Loss of world champion affects their
14   standing in the boxing management community and amongst boxing promoters.
15           156. WHEREFORE, Plaintiff requests that this Court enter judgment
16   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
17   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
18   suit.
19                              FIFTH CAUSE OF ACTION
20            Tortious Interference with Contract – Boxer Manager Contract
21                    (Against MTK, MTK USA, Mr. Gibson, and GBP)
22           157. Plaintiff incorporates by reference and realleges each and every
23   allegation contained in the paragraphs above as though fully set forth herein.
24           158. At all relevant times, there was a Boxer-Manager contract (2017
25   Contract) between Mr. Heredia and a third party, Mr. Joseph Diaz, Jr. This contract
26   was signed on February 23, 2017 before the California State Athletic Commission
27   and would have lasted five years, but on July 10, 2021 was canceled by the
28   Executive Director of the Commission. During all relevant times this contract was
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                                                                 THIRD AMENDED COMPLAINT
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 1   valid and enforceable.
 2         159. Each defendant knew of the 2017 Contract between Mr. Heredia and
 3   Mr. Diaz and that it required Mr. Heredia to be paid 18% of Mr. Diaz’ bout income
 4   as a management fee.
 5         160. As a result of the Defendants’ interference Mr. Diaz instructed GBP
 6   not to pay Mr. Heredia his lawfully-owed management fees on two separate
 7   occasions: once in connection with a February 13, 2021 bout, and once in
 8   connection with a July 9, 2021 bout.
 9         161. MTK, MTK USA, Mr. Gibson, and GBP performed intentional acts
10   designed to induce a breach or disruption of the contractual relationship between
11   Mr. Heredia and Mr. Diaz by instructing Mr. Diaz to order GBP to withhold from
12   Mr. Heredia his contractually-required 18% management fee from the February 13,
13   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
14   which Mr. Heredia was not paid until 10 days after the arbitration award ordered it.
15         162. MTK, MTK USA, Mr. Gibson, and GBP did, in fact, breach or disrupt
16   the contractual relationship between Mr. Heredia and Mr. Diaz by withholding
17   from Mr. Heredia his contractually-required 18% management fee from the
18   February 13, 2021 bout – which Mr. Diaz still has not paid – and from the July 9,
19   2021 bout, which Mr. Heredia was not paid until 10 days after the arbitration
20   award ordered it.
21         163. But for MTK, MTK USA, Mr. Gibson, and GBP’s actions in
22   interfering, the payment of Mr. Heredia’s bout fees, owed to him under the 2017
23   Contract, would have been timely performed.
24         164. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
25   Heredia damages, by their instructing Mr. Diaz to order GBP to withhold from Mr.
26   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
27   to lose the use of the funds that he was lawfully owed during the time that they
28   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
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                                                               THIRD AMENDED COMPLAINT
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 1   the February 13, 2021 bout.
 2         165. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
 3   harmed Mr. Heredia in other ways. For example, Mr. Heredia lost oversight of Mr.
 4   Diaz, the boxer he managed. Mr. Heredia is being smeared on social media and have
 5   lost business goodwill as others see their rights and contracts being trampled upon
 6   by MTK, MTK USA, Mr. Gibson, and GBP. Further, Mr. Heredia’s relationship
 7   with other currently signed boxers has been hampered. Mr. Heredia’s business
 8   relationship with GBP has also been negatively affected.
 9         166. Moreover, MTK, MTK USA, Mr. Gibson, and GBP’s actions ensured
10   the deterioration of this longstanding remarkably successful personal and
11   professional relationship between Mr. Heredia and Mr. Diaz, which triggered the
12   need for arbitration, which then resulted in a reduced fight percentage allocation by
13   the California Commission, who had to balance the fighter’s future income against
14   the enforceable contractual rights that existed as reflected in the arbitration award.
15   These additional damages are directly tied to the irreparable harm to this
16   relationship, as confirmed by the Arbitration, that was committed by this group of
17   corporate raiders who were acting without any contractual or lawful authority to
18   conduct business within any jurisdiction and in particular the State of California.
19         167. MTK, MTK USA, and their agents to include Mr. Gibson and VGC,
20   and GBP’s conduct were the substantial factors in causing Plaintiff’s harm. But for
21   the interference of MTK, MTK USA, Mr. Gibson and GBP, Plaintiff’s contract
22   with Mr. Diaz would not have been interfered with and harm would not have been
23   caused. The conduct of MTK, MTK USA, Mr. Gibson, and GBP is the substantial
24   factor in causing Plaintiff’s harm.
25         168. WHEREFORE, Plaintiff requests that this Court enter judgment
26   against these defendants as follows: actual damages, reasonable attorney’s fees,
27   and the costs of bringing the suit, all in an amount to be determined at trial.
28                              SIXTH CAUSE OF ACTION
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 1         Tortious Interference with Contract – Promoter-Manager Contract
 2                              (Against MTK and MTK USA)
 3         169. Plaintiff incorporates by reference and realleges each and every
 4   allegation contained in the paragraphs above as though fully set forth herein.
 5         170. At all relevant times, there was a boxing promotion contract between
 6   Defendant GBP, and Mr. Joseph Diaz, Jr. Plaintiff also signed this agreement as a
 7   representative of Mr. Diaz and is a third-party beneficiary. This contract was
 8   signed on March 22, 2017 and lasts for five years.
 9         171. This contract is valid and enforceable.
10         172. MTK and MTK USA’s conduct and GBP’s collusion prevented
11   performance or made the performance of this contract more expensive or difficult.
12   Mr. Diaz does not to communicate with Mr. Heredia as MTK and MTK USA
13   arranged a mandatory title bout with GBP on February 13, 2021 and another bout
14   on July 9, 2021. MTK and MTK USA are “strangers” to this contract and are liable
15   in tort for their intentional interference. MTK and MTK USA’s conduct includes
16   directing GBP not to communicate with Mr. Heredia, Mr. Diaz’s boxing manager.
17         173. These actions have caused Mr. Heredia additional time and expenses
18   to include hiring counsel to assert his rights. Mr. Heredia cannot fulfill his role as
19   Mr. Diaz’s boxing representative and negotiate bouts on Mr. Diaz’s behalf.
20         174. MTK and MTK USA intended to disrupt the performance of this
21   contract and/or knew that disruption of performance as certain or substantially
22   certain to occur.
23         175. Mr. Joseph Diaz no longer communicates with Mr. Heredia
24   concerning his boxing career.
25         176. MTK claims to be a “business” or “marketing advisor” for Mr. Diaz,
26   however, MTK and MTK USA do not communicate with Mr. Heredia. Instead,
27   MTK and MTK USA are performing management roles for Mr. Diaz and
28   attempting to step into the shoes of Mr. Heredia as the boxer’s representative under
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                                                                  THIRD AMENDED COMPLAINT
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 1   the promotion agreement.
 2         177. MTK is not licensed or qualified as a boxing manager as required by
 3   California law.
 4         178. As a result of the Defendants’ interference Mr. Diaz instructed GBP
 5   not to pay Mr. Heredia his lawfully-owed management fees under the Boxer-
 6   Manager Contract for the February 13, 2021 bout. MTK, MTK USA, and their
 7   agents want this disruption to occur as their goal is to have Mr. Diaz become one
 8   of their boxers. In order to do so, they must destroy, through whatever means they
 9   have available, the valid and existing contract between Mr. Diaz, GBP and Mr.
10   Heredia.
11         179. Mr. Heredia has been harmed by the actions of MTK and MTK USA.
12   Mr. Heredia does not have oversight of the boxer he is managing. MTK and MTK
13   USA have inserted themselves as the boxer’s representative and have displaced
14   Mr. Heredia. Further, Mr. Heredia’s relationship with other currently signed boxers
15   has been hampered. Plaintiff’s business relationship with GBP has also been
16   negatively affected.
17         180. MTK and MTK USA’s conduct are the substantial factors in causing
18   Plaintiff’s harm. But for the interference of MTK and MTK USA, Plaintiff’s role
19   as Mr. Diaz’s representative under the promotion contract would not have been
20   interfered with and harm would not have been caused.
21                           SEVENTH CAUSE OF ACTION
22              Inducing Breach of Contract – Boxer-Manager Contract
23                          (Against MTK, MTK USA, and GBP)
24         181. Plaintiff incorporates by reference and realleges each and every
25   allegation contained in the paragraphs above as though fully set forth herein.
26         182. Defendants MTK and MTK USA intentionally caused Mr. Joseph
27   Diaz, Jr. to breach his Boxer-Manager Contract with Mr. Heredia.
28         183. At all relevant times, there was a Boxer-Manager Contract (2017
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                                                               THIRD AMENDED COMPLAINT
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 1   Contract) between Mr. Heredia and a third party, Mr. Joseph Diaz, Jr. This contract
 2   was signed on February 23, 2017 before the California State Athletic Commission
 3   and would have lasted five years, but on July 10, 2021 was canceled by the
 4   Executive Director of the Commission. During all relevant times this contract was
 5   valid and enforceable.
 6          184. MTK, MTK USA, and GBP knew that this contract existed, and that it
 7   required Mr. Heredia to be paid 18% of Mr. Diaz’ bout income as a management
 8   fee.
 9          185. As a result of the Defendants’ interference Mr. Diaz instructed GBP
10   not to pay Mr. Heredia his lawfully-owed management fees on two separate
11   occasions: once in connection with a February 13, 2021 bout, and once in
12   connection with a July 9, 2021 bout.
13          186. MTK, MTK USA, Mr. Gibson, and GBP performed intentional acts
14   designed to induce a breach or disruption of the contractual relationship between
15   Mr. Heredia and Mr. Diaz by instructing Mr. Diaz to order GBP to withhold from
16   Mr. Heredia his contractually-required 18% management fee from the February 13,
17   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
18   which Mr. Heredia was not paid until 10 days after the arbitration award ordered
19   it..
20          187. MTK, MTK USA, Mr. Gibson, and GBP did, in fact, breach or disrupt
21   the contractual relationship between Mr. Heredia and Mr. Diaz by withholding
22   from Mr. Heredia his contractually-required 18% management fee from the
23   February 13, 2021 bout – which Mr. Diaz still has not paid – and from the July 9,
24   2021 bout, which Mr. Heredia was not paid until 10 days after the arbitration
25   award ordered it.
26          188. But for MTK, MTK USA, Mr. Gibson, and GBP’s actions in
27   interfering, the payment of Mr. Heredia’s bout fees, owed to him under the 2017
28   Contract, would have been timely performed.
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                                                               THIRD AMENDED COMPLAINT
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 1         189. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
 2   Heredia damages, by their instructing Mr. Diaz to order GBP to withhold from Mr.
 3   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
 4   to lose the use of the funds that he was lawfully owed during the time that they
 5   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
 6   the February 13, 2021 bout.
 7         190. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
 8   harmed Mr. Heredia in other ways. For example, Mr. Heredia lost oversight of Mr.
 9   Diaz, the boxer he managed. Mr. Heredia is being smeared on social media and have
10   lost business goodwill as others see their rights and contracts being trampled upon
11   by MTK, MTK USA, Mr. Gibson, and GBP.
12         191. Further, Mr. Heredia’s relationship with other currently signed boxers
13   has been hampered. Mr. Heredia’s business relationship with GBP has also been
14   negatively affected. MTK, MTK USA, and their agents to include Mr. Gibson and
15   VGC, and GBP’s conduct were the substantial factors in causing Plaintiff’s harm.
16   But for the interference of MTK, MTK USA, Mr. Gibson and GBP, Plaintiff’s
17   contract with Mr. Diaz would not have been interfered with and harm would not
18   have been caused. The conduct of MTK, MTK USA, Mr. Gibson, and GBP is the
19   substantial factor in causing Plaintiff’s harm.
20         192. The conduct of MTK, MTK Global, and GBP are the substantial
21   factors in causing Plaintiff’s harm. A person is not justified in inducing a breach of
22   contract simply because they are in competition with one of the parties to the
23   contract and seeks to further their own economic advantage at the expense of
24   another.
25         193. WHEREFORE, Plaintiff requests that this Court enter judgment
26   against these defendants as follows: actual damages, reasonable attorney’s fees,
27   and the costs of bringing the suit, all in an amount to be determined at trial.
28                             EIGHTH CAUSE OF ACTION
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 1            Intentional Interference with Prospective Economic Relations
 2                            (Against MTK, MTK USA, and GBP)
 3         194. Plaintiff incorporates by reference and realleges each and every
 4   allegation contained in the paragraphs above as though fully set forth herein.
 5         195. Defendants MTK, MTK USA, and GBP intentionally interfered with
 6   an economic relationship between Mr. Heredia and Mr. Joseph Diaz, Jr. that
 7   probably would have resulted in an economic benefit to Mr. Heredia. Namely, Mr.
 8   Heredia had a contract with Mr. Diaz for boxing management and due to the
 9   interference Defendants MTK, MTK USA, and GBP have impacted the future
10   relationship between Mr. Diaz and Mr. Heredia and Mr. Heredia’s ability to attract
11   other promising boxers to his stable.
12         196. At all relevant times, there was a Boxer-Manager Contract (2017
13   Contract) between Mr. Heredia and a third party, Mr. Joseph Diaz, Jr. This contract
14   was signed on February 23, 2017 before the California State Athletic Commission
15   and would have lasted five years, but on July 10, 2021 was canceled by the
16   Executive Director of the Commission. During all relevant times this contract was
17   valid and enforceable.
18         197. MTK, MTK USA, and GBP knew that this contract existed, and that it
19   required Mr. Heredia to be paid 18% of Mr. Diaz’ bout income as a management
20   fee. As a result of the Defendants’ interference Mr. Diaz instructed GBP not to pay
21   Mr. Heredia his lawfully-owed management fees on two separate occasions: once
22   in connection with a February 13, 2021 bout, and once in connection with a July 9,
23   2021 bout.
24         198. MTK, MTK USA, and GBP performed intentional acts designed to
25   induce a breach or disruption of the contractual relationship between Mr. Heredia
26   and Mr. Diaz by their instructing Mr. Diaz to order GBP to withhold from Mr.
27   Heredia his contractually-required 18% management fee from the February 13,
28   2021 bout and from the July 9, 2021 bout, which Mr. Heredia was not paid until
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 1   10 days after the arbitration award ordered it.
 2         199. MTK, MTK USA, and GBP did, in fact, breach or disrupt the
 3   contractual relationship between Mr. Heredia and Mr. Diaz by withholding from
 4   Mr. Heredia his contractually-required 18% management fee from the February 13,
 5   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
 6   which Mr. Heredia was not paid until 10 days after the arbitration award ordered it.
 7   MTK, MTK USA, and GBP’s actions in breaching or disrupting the contractual
 8   relationship between Mr. Heredia and Mr. Diaz not only interfered with Mr.
 9   Heredia’s expectancy, but the defendants engaged in conduct that was wrongful by
10   some legal measure other than the fact of interference itself, for example, by
11   instructing Mr. Diaz to order GBP to withhold funds lawfully earned by, and owed
12   to, Mr. Heredia, this causing Mr. Heredia financial and reputational harm.
13         200. But for MTK, MTK USA, and GBP’s actions in interfering, the
14   payment of Mr. Heredia’s bout fees, owed to him under the 2017 Contract, would
15   have been timely performed and Mr. Heredia would have been better able to attract
16   other boxers to his management stable, which would have earned him additional
17   management fees.
18         201. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
19   Heredia damages, by instructing Mr. Diaz to order GBP to withhold from Mr.
20   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
21   to lose the use of the funds that he was lawfully owed during the time that they
22   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
23   the February 13, 2021 bout.
24         202. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
25   harmed Mr. Heredia in other ways. For example, Mr. Heredia lost oversight of Mr.
26   Diaz, the boxer he managed. Mr. Heredia is being smeared on social media and has
27   lost business goodwill as others see their rights and contracts being trampled upon
28   by MTK, MTK USA, and GBP.
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 1         203. Further, Mr. Heredia’s relationship with other currently signed boxers
 2   has been hampered. Even more, Mr. Heredia’s ability to attract new promising
 3   boxers to his stable has been hampered by this interference, thus potentially costing
 4   him management fees from his management of those boxers who elected not to sign
 5   with him. Finally, Mr. Heredia’s business relationship with GBP has also been
 6   negatively affected.
 7         204. MTK, MTK USA, and their agents to include VGC, and GBP’s
 8   conduct were the substantial factors in causing Plaintiff’s harm. But for the
 9   interference of MTK, MTK USA, Mr. Gibson and GBP, Plaintiff’s contract with
10   Mr. Diaz would not have been interfered with and harm would not have been
11   caused. The conduct of MTK, MTK USA, and GBP is the substantial factor in
12   causing Plaintiff’s harm.
13         205. WHEREFORE, Plaintiff requests that this Court enter judgment
14   against these defendants as follows: actual damages, reasonable attorney’s fees,
15   and the costs of bringing the suit, all in an amount to be determined at trial.
16                               NINTH CAUSE OF ACTION
17             Negligent Interference with Prospective Economic Relations
18                               (Against MTK and MTK USA)
19         206. Plaintiff incorporates by reference and realleges each and every
20   allegation contained in the paragraphs above as though fully set forth herein.
21         207. MTK USA and MTK know or should have known of the relationship.
22         208. MTK USA and MTK know or should have known that this
23   relationship would be disrupted if they failed to act with reasonable care.
24         209. MTK USA and MTK failed to act with reasonable care.
25         210. MTK USA and MTK have engaged in wrongful conduct through,
26   inter alia, inducing breach of contract, tortious interference with contract,
27   violations of statutory authority with respect to boxing management.
28         211. Mr. Heredia’s relationship with Mr. Diaz has been disrupted by MTK
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 1   USA, and MTK’s actions.
 2          212. MTK USA and MTK’s wrongful conduct are a substantial factor in
 3   causing harm to Mr. Heredia.
 4          213.   This wrongful conduct has resulted in financial harm to Mr. Heredia
 5   to include loss of management fees from Mr. Diaz.
 6                                 PRAYER FOR RELIEF
 7   WHEREFORE, Plaintiff prays for judgment and an award against Defendants as
 8   follows:
 9          1.     For compensatory damages in an amount to be determined at trial;
10          2.     For treble damages in an amount to be determined at trial;
11          3.     For pre- and post-judgment interest at the maximum rate allowed by
12   law;
13          4.     For recovery of reasonable attorneys’ fees;
14          5.     For the costs of the suit; and
15          6.     For such other and further relief as the Court deems just and proper.
16          7.     Jury trial is demanded.
17
18   Dated: April 29, 2022                    Respectfully submitted,
19
20                                            /s/ Rajan O. Dhungana
                                              Rajan O. Dhungana (SBN: 297794)
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24                                            rdhungana@fedpractice.com
25
                                              /s/ Eric S. Montalvo
26                                            Eric S. Montalvo (Pro Hac Vice)
27                                            FEDERAL PRACTICE GROUP
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28                                            Washington, D.C. 20006
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                                                          THIRD AMENDED COMPLAINT
